               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA, STATE )
OF NORTH CAROLINA, STATE OF     )
CALIFORNIA, STATE OF COLORADO,  )
STATE OF CONNECTICUT, STATE OF  )
MINNESOTA, STATE OF OREGON,     )
STATE OF TENNESSEE, STATE OF    )
ILLINOIS, and COMMONWEALTH      )
OF MASSACHUSETTS,               )
                                )
              Plaintiffs,       )                1:24-cv-710
                                )
     v.                         )
                                )
REALPAGE, INC., CAMDEN PROPERTY )
TRUST, CORTLAND MANAGEMENT,     )
LLC, CUSHMAN & WAKEFIELD, INC., )
GREYSTAR REAL ESTATE PARTNERS,  )
LLC, LIVCOR, LLC, PINNACLE      )
PROPERTY MANAGEMENT SERVICES,   )
LLC, and WILLOW BRIDGE PROPERTY )
COMPANY, LLC,                   )
                                )
             Defendants.        )

                                ORDER

     This matter comes before the court upon a Consent Motion

for Extension of Time and Word Limit for Defendants’ Motions to

Dismiss. (Doc. 110.) Defendants Camden Property Trust, Cushman &

Wakefield, Inc., Greystar Real Estate Partners, LLC, LivCor LLC,

Pinnacle Property Management Services, LLC, and Willow Bridge

Property Company, LLC (“moving Defendants”), with the consent of

Plaintiffs, move the court for an extension of time until April

10, 2025, to answer, move to dismiss, or otherwise respond to




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Plaintiffs First Amended Complaint, (Doc. 47). The moving

Defendants, with the consent of Plaintiffs, further request for

leave to exceed the word count limitations applicable to the

briefing of Defendants’ motions to dismiss, including a proposed

briefing schedule as stipulated by the parties. Having

considered the motion, with the agreement and stipulation

between the parties, and for good cause shown,

     IT IS THEREFORE ORDERED that the moving Defendants’ Consent

Motion for Extension of Time and Word Limit for Defendants’

Motions to Dismiss, (Doc. 110), is GRANTED and the parties shall

proceed in accordance with the word limitations and briefing

schedule as follows:

     1.   Word Limitations.

          A.   Moving Defendants’ motions to dismiss,

     distributed across a joint motion and individual motions

     shall not exceed 22,000 total words;

          B.   Plaintiffs’ responses to Moving Defendants’

     motions to dismiss shall not exceed 22,000 total words; and

          C.   Moving Defendants’ replies in support of their

     motions to dismiss shall not exceed 11,000 total words.




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 2.    Briefing Schedule.

       A.    Moving Defendants’ answers or motions to dismiss

  Plaintiffs’ First Amended Complaint shall be filed on or

  before April 10, 2025.

       B.    Plaintiffs’ responses to any motions to dismiss

  shall be filed no later than seven weeks after service of

  the motions.

       C.    Moving Defendants’ reply briefs in support of any

  motions to dismiss shall be filed no later than four weeks

  after service of Plaintiffs’ responses.

  IT IS SO ORDERED.

  This the 13th day of March, 2025.



                              __________________________________
                                 United States District Judge




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